      Case 2:14-cv-01693-RFB-PAL        Document 63      Filed 05/04/15   Page 1 of 3




 1   Conor P. Flynn, Esq.
     Nevada Bar No. 11569
 2   ARMSTRONG TEASDALE, LLP
     3770 Howard Hughes Parkway, Ste. 200
 3   Las Vegas, NV 89169
     Telephone: 702.678.5070
 4   Facsimile: 702.878.9995
     cflynn@armstrongteasdale.com
 5
     AND
 6
 7   Lawrence W. Byrne, ESQ. (Pro Hac Vice)
     Colin M. Seals, Esq. (Pro Hac Vice)
 8   PEDERSEN & HOUPT
     161 N. CLARK ST., SUITE 2700
 9   CHICAGO, IL 60601
     Telephone: 312-261-2155
10   Facsimile: 312-261-1155
     lbyrne@pedersenhoupt.com
11   cseals@pedersenhoupt.com
12   Attorneys for CPF Recovery Ways, LLC, Chicago Pacific Capital, LP
     Mary Tolan and Lawrence Leisure
13
14                               UNITED STATES DISTRICT COURT
15                                  DISTRICT OF NEVADA
16    HUGH S. PROCTOR, an individual; and SP         Case No.: 2:14-cv-01693-RFB-PAL
      TRUST, a Nevada trust,
17
                   Plaintiffs,
18                                                    STIPULATION AND ORDER TO
      v.                                               DISMISS ALL CLAIMS WITH
19                                                            PREJUDICE
      CPF RECOVERY WAYS, LLC, a Delaware
20    limited-liability   company;    CHICAGO
      PACIFIC CAPITAL, LP, a Delaware limited
21    partnership; GOLDSTREAM, LLC, a Utah
      limited-liability     company;    NORTH
22    AMERICAN MANAGEMENT, LLC, a
      Utah limited-liability company; PARSONS
23    BEHLE & LATIMER, a Utah professional
      corporation; LAWRENCE LEISURE. an
24    individual; GEOFFREY W. MAGNUM, an
      individual; JAMES R. PETERSEN, an
25    individual; JOHN ROBERTSON, an
      individual; and MARY TOLAN, an
26    individual,
27                  Defendants.
28




                                                1
         Case 2:14-cv-01693-RFB-PAL         Document 63        Filed 05/04/15        Page 2 of 3




 1        STIPULATION AND ORDER TO DISMISS ALL CLAIMS WITH PREJUDICE
 2           IT IS HEREBY STIPULATED AND AGREED by and between, the Plaintiffs,
 3   Hugh S. Proctor and SP Trust by and through their attorney Steven Gibson, along with the
 4   Defendants Parsons Behle & Latimer (“Parsons Behle”) and Geoffrey W. Mangum (“Mr.
 5   Mangum”) (together, the “Law Firm Defendants”), by and through their counsel, the law
 6   firm of Bailey Kennedy; Defendants CPF Recovery Ways, LLC (“CPF Recovery Ways”),
 7
     Chicago Pacific Capital, LP f/n/a Chicago Pacific Capital, LLC (“Chicago Pacific”),
 8
     Lawrence Leisure (“Mr. Leisure”), and Mary Tolan (“Ms. Tolan”) (collectively, the
 9
     “Chicago Defendants”), by and through their counsel, the law firms of Armstrong Teasdale,
10
     LLP and Pederson & Houpt; and Defendants Goldstream, LLC (“Goldstream”), North
11
     American Management, LLC (“NAM”), James R. Petersen (“Mr. Petersen”), and John
12
     Robertson (“Mr. Robertson”) (collectively, the “Utah Defendants”), by and through their
13
     counsel, the law firm of Carbajal & McNutt, LLP, that in accordance with the terms of the
14
     Settlement Agreement reached by the parties on April 2, 2015 and pursuant to FRCP
15
16   41(a)(1)(A)(ii), the Parties hereby jointly request that this Court dismiss the above-referenced

17   action with Prejudice, each party to bear its own costs and attorneys’ fees.1

18           IT IS SO STIPULATED.

19           DATED this 30th day of April 2015.

20   CARBAJAL & MCNUTT, LLP                             BAILEY KENNEDY
21
     /s/Hector Carbajal                                  /s/Joshua Gilmore
22   Hector Carbajal, Esq.                              Dennis Kennedy, Esq.
     Nevada Bar No. 6247                                Nevada Bar No. 1462
23   625 S. Eighth Street                               Joshua Gilmore, Esq.
     Las Vegas, Nevada 89101                            Nevada Bar No. 11576
24   hjc@cmlawnv.com                                    8984 Spanish Ridge Avenue
     Attorneys for Defendants                           Las Vegas, Nevada 89148
25   James R. Petersen, John Robertson,                 dkennedy@baileykennedy.com
     North American Management, LLC, and                jgilmore@baileykennedy.com
26   Goldstream, LLC                                    Attorneys for Defendants Parsons Behle &
27                                                      Latimer and Geoffrey W. Mangum

28   1
      This provision will not affect CPF Recovery Ways, LLC; Chicago Pacific Capital, LP;
     Mary Tolan; and Lawrence Leisure’s indemnification rights under the parties’ agreements.



                                                    2
      Case 2:14-cv-01693-RFB-PAL          Document 63      Filed 05/04/15    Page 3 of 3




 1   ARMSTRONG TEASDALE, LLP                        GIBSON LEGRAND, LLP
 2
     /s/Conor P. Flynn                              /s/Steven Gibson
 3   Conor P. Flynn, Esq.                           Steven Gibson, Esq.
     Nevada Bar # 11569                             Nevada Bar # 6656
 4   3770 Howard Hughes Pkwy., Ste. 200             7495 West Azure Drive, Ste. 233
     Las Vegas, NV 89169                            Las Vegas, NV 89130
 5   cflynn@armstrongteasdale.com                   sgibson@gibsonlegrand.com
                                                    Attorneys for Plaintiffs
 6
     and
 7
     Lawrence Byrne, Esq.*
 8   161 N. Clark Suite 2700
     Chicago, IL 60601
 9   lbyrne@pedersenhoupt.com
     Attorneys for Defendants
10   CPF Recovery Ways, LLC; Chicago Pacific
     Capital, LP; Lawrence Leisure; and
11   Mary Tolan

12   *Admitted Pro Hac Vice

13
14
                                               ORDER
15
                                               IT IS SO ORDERED.
16
17                                             RICHARD
                                               UNITED      F. BOULWARE,
                                                        STATES     DISTRICTIIJUDGE
18                                             United States District Judge
                                               DATED:
19                                              DATED this 4th day of May, 2015.
20
21
22
23
24
25
26
27
28




                                                3
